Case 3:05-po-04255-MEA Document 1-1 ye S( CSO BAY of 2

U.S. Bureau of Land Management ot Location Code
United States District Court
Violation Notice GB? IF 7
Violation No. Officer Name (Print) Officer No.

L 0132056 |@lacuter Cio

YOU ARE CHARGED WITH THE FOLLOWING VIOLATION
Date and Time of Offense (mmvddlyyyy) Offense Charged Q'CFR OUSC i Slate Code

AsloS 1S 143 CFR 43.4e
roaboteke —-iOmpSon Bay

9SOZETO |

Offense Description

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Udder Tpfloewce

DEFENDANT INFORMATION Phare: { ) -
Last Name First Name MLL.

UC KLEY MN atthew |mM

Street Address

c ——$——aet Se a
Cy, auale Zip Code Date of Birth (mwredaivyyy)
. g}. _
Dnver's License No. BL. State Social Security No.
CH
haa Juvenile Sex ‘ale Ui Female Hair Eyes Height Weight
VEHICLE DESCRIPTION VIN: 7 ,
Tag No. j State Year {Make/Model zor "Tolar \Q\
SeHroY DY Me
SO oe 4s oT hs Se ie gg .
A A BOX AIS CHECKED, YOU |B O IF BOXBIS CHECKED, YOU MUST
UST APPEAR IN COURT. PAY AMOUNT INDICATED BELOW
SEE INSTRUCTIONS {on back of yellow OR APPEAR IN COURT.
copy). SEE INSTRUCTIONS (on back of yellow copy).
$ Forfeiture Amount
+$25 Processing Fee
PAY THIS AMOUNT > | 1$ Total Collateral Due

YOUR COURT DATE
{If no court appearance data is shown, you wil be notified of your appearance date by maul.}

CourlAddress 7 * SOF (E Ber LL S T Ye
Ke \ a WISN, AZ Time roy, os

AV %~~-T1Y- Sol CF! 30

My signature signifies that | have received a copy of a weaton notice. Itis pot an admission of guilt.
| promise to appear for the me at the me an ced or p yao total collateral due.

X Defendant Signature Lif oe AE
Original - CVB Cony oF 4 Form 9260-9 (uly 2005)

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Case 3:05-po-04255-MEA Document 1-1 Filed 10/27/05 Page 2 of 2

STATEMENT OF PROBABLE CAUSE
(for issuance of an arrest warrant or summans)

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fawenforcement officerinthe Citric Fie
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The foregeing statement is based wpan
fo my persenal observation _] my personal investigation
. (J informahon supplied ip me trom my fellow officers observation
(J other fexpvain above;
| declare under penalty of perjury that ihe information which | have set forth above and

on ine face af (his vidlation notice 15 true and correct io the bes! of my knowledge

- *
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Executed on Lato st Wo .
Ofle (minvddiyyyy)

Officers Signature
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Probable cause has been stated for (h¥ issuance of a warrkg!

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Freculed on

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Date (mmiddiyyyy) us Magistrate Judge
